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                           DRUGS AND THE
                            MAKING OF THE
                            MODERN WORLD




              DAVID T. COURTWRIGHT



                       HARVARD UNIVERSITY PRESS
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                           ESCAPE FROM COMMODITY HELL



                                IN 1997 GENERAL BARRY MCCAFFREY, the director
           of the Office of National Drug Control Policy, devoted a major speech to the
          drug problem in historical perspective. It was an unusual undertaking. U.S.
          drug czars are not, as a group, given to historical reflection on the subject.
          McCaffrey nevertheless captured the essence of the matter: "Illegal drugs are
          a byproduct of an industrial society that has led us to tamper —for better and
          for worse —with the body's inner environment."' Legal drugs, of course, are
          also by-products of the same process. The cigarette above all others is an in-
          dustrial product, produced by mechanical means and consumed at a me-
          chanical pace by smokers who have adjusted their habits to life in a mechani-
          cal age.
             Cigarettes have several advantages as industrial products, among them ad-
          diction potential, tolerance, transient effect, social and sexual desirability,
          and weight control. They also have a significant disadvantage, one that they
          share with other mass-produced items. They are commodities, products in-
          terchangeable with those made by competitors. A cigarette is a cigarette, as
          blind product tests have repeatedly shown. In the early 194os the Federal
          Trade Commission looked into an American Tobacco Company advertising
          campaign that suggested otherwise: "Sworn affidavits show that among the
          men who know tobacco best it's Luckies two to one." The investigators had
          little difficulty showing that the claim was pure bunk. Some zoo tobacco
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     growers, warehousemen, auctioneers, buyers, and dealers unanimously
     testified that all standard brands were made from the same type of tobacco.
     Farmers grew it in the same type of soil with the same sort of fertilizers, gath-
     ered and cured it in the same fashion, and sold it at public auction to manu-
     facturers who bought tobacco of similar quality.'
        This reality cuts across all commercial drug categories. Casks of rum, bun-
     dles of kola nuts, bricks of opium, and kilos of cocaine are so many commod-
     ities. The big problem with being in the commodity business, or "commodity
     hell" as it is sometimes known, is that the only way to capture additional mar-
     ket share is to cut price. Competition exerts relentless downward pressure
     on profit margins, particularly in an industry like drug production, where
     start-up costs are comparatively modest and new competitors continuously
     arise.
        Several means of escape from commodity hell present themselves. Pro-
     ducers can control output and stabilize prices through a cartel, trust, or other
     monopolistic device. Failing that, it pays to advertise. Creating attractive
     brand names allows producers to charge more because consumers are will-
     ing to pay for the brand and the product. Another approach, not exclusive of
     advertising, is to improve the product and cut manufacturing costs. Design a
     better tea bag and sell it for less. The drawback of innovations is that rival
     firms eventually copy them; patents provide at best a temporary competitive
     advantage. Finally, producers can increase market share without cutting
     profits if they succeed in opening new markets previously closed or indiffer-
     ent to their products. Hence the logic of shipping free coffee halfway around
     the world.
       The history of drug use offers any number of ingenious attempts to escape
     from commodity hell: cocaine manufacturing cartels, flavored coffees and li-
     queurs, nitrite ads in pornographic magazines. This chapter focuses on the
     manufacture and promotion of cigarettes. Cigarette makers created a large
     and uniquely profitable global industry, and the success they enjoyed in ad-
     vertising, technological innovation, and exploiting new markets lifted the for-
     tunes of other psychoactive products. Many boats rose on the cigarette tide.
     Cigarette smokers, for example, are four times likelier than nonsmokers (ad-
     justing for age, gender, marital status, alcohol use, and other risk factors) to
     abuse amphetamines. They also consume more alcohol. Charles Towns, an
     early twentieth-century addiction specialist, went so far as to pronounce ciga-
     rettes the worst of all drug habits. Though less harmful in their immediate ef-


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            fects, they led to the use of alcohol and narcotics and created an ongoing
            scandal. The very openness and permissibility of the vice, he wrote, legiti-
            mated the process of "self-poisoning."3

                                       Making People Disappear
             "People underestimate energy," the novelist Jeffrey Archer once remarked.
             "One gift plus energy, you'll be a king; energy and no gift, you're a prince; a
             gift and no energy, you're a pauper." James Buchanan Duke —a figure who
             might have stepped from the pages of an Archer novel —combined a gift for
             business with boundless energy. "I loved business better than anything else,"
             he recalled, "I worked from early morning to late at night." While still in his
             thirties, he became the undisputed king of tobacco production and prime
             mover of the cigarette revolution. It is not an exaggeration to call him the sin-
             gle most important figure in the history of psychoactive commerce.4
               Buck Duke was the strapping son of a Confederate artilleryman whose
             North Carolina farm was looted by Union soldiers in 1865. He worked hard
             to restore the family fortunes after the war, eventually becoming a full part-
             ner in a Durham tobacco factory purchased by his father. The competition
            was merciless, particularly from the giant Bull Durham, which sold the mak-
             ings for roll-your-own cigarettes. Ready-mades were not then a part of the
             Bull Durham product line, so the Dukes concentrated their efforts there.
               It proved a wise choice. Cigarettes made with flue-cured Bright tobacco
            were, in several respects, superior to other tobacco products. Customers
            found them lighter and more palatable than pipes and cigars, and appreci-
            ated their "short smoke" qualities. Five to seven minutes with a ready-made
            cigarette fit the tempo of urban-industrial life much better than a leisurely
            half-hour with a cigar. "Short, snappy, easily attempted, easily completed or
             just as easily discarded before completion," wrote one editorialist, "the ciga-
            rette is the symbol of a machine age in which the ultimate cogs and wheels
            and levers are human nerves."5
               The road to the nerves ran through the lungs. Smokers could inhale ciga-
            rette smoke deeply, delivering a powerful dose of nicotine into their blood-
            stream. The cigarette was to tobacco as the hypodermic syringe was to opi-
            ates: a revolutionary technology that permitted alkaloids to work more
            quickly and with stronger effect on the brain's reward systems. Though no
            one yet understood those systems in the late nineteenth century, the seduc-
            tive, almost narcotic, power of cigarettes was clear enough. In America,
            where cigarettes were especially controversial, they earned the sobriquet

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       "dope sticks" and the suspicion that their manufacturers spiked them with
       opium, cannabis, or cocaine.'
         The suspicion was unfounded; nicotine alone sufficed to produce a power-
       ful addiction. When the anarchist Emma Goldman, who smoked as many as
       40 cigarettes a day, had to do without in Blackwell's Island Penitentiary, she
       experienced "torture almost beyond endurance." So did the prostitutes
       rounded up in vice sweeps. They shook their bars, cursed, and screamed for
       "dope and cigareftes."7 In all strata of society cigarette smokers, like the users
       of injectable narcotics, were more likely to become dependent customers.
       They also consumed more tobacco per person than cigar or pipe smokers, or
       chewers and snuff dippers.
         The one drawback of ready-made cigarettes when the Dukes got into the
       business in 1881 was their price. The federal tax, a vestige of the Civil War,
       was steep, and so were the costs of employing hand rollers. Ninety percent of
       the cost of manufacturing cigarettes went for labor. But the government
      slashed the cigarette tax in 1883, and in the following year Duke negotiated
       rights to the Bonsack cigarette machine, capable of spewing out 120,000 ciga-
       rettes in a 10-hour shift. The makers of this mechanical wonder, spurned by
      other manufacturers because of its doubtful reliability, agreed to charge
      Duke at least 25 percent less than any future competitors would pay. He in
      turn agreed to take as many machines as he could keep running.
         Once mechanics had worked out the bugs, the Bonsack machines enabled
      Duke to cut prices and still earn handsome profits. But the size of the market
      for ready-mades—a rarefied dude product —remained limited. Duke, whose
      office spittoon brimmed with tobacco juice, personally shunned them, as did
      most men of his generation. He had to figure out what to do with the flood of
      cigarettes he was now capable of unleashing on an unsuspecting world.
         Duke only seems to have invented tobacco advertising. Robert Louis
      Stevenson, who traveled across the Midwest by train in 1879, wrote that the
      only advertisements he saw plastered on the fences along the endless tracks
      fell into one of two categories, tobacco or remedies against the ague. But
      Duke poured unheard-of resources into promotions and ads, spending
      800,000 dollars in 1889 alone. He and his salesmen tarted up their ads and
      cigarette cards with actresses and tights-clad models. Sex sold cigarettes, par-
      ticularly to young, single men in cities. They were, as always, fertile ground
      for novel types of drugs.
         Duke pushed hard to open new markets. His drummers fanned out across
      the country, distributing packages of Duke brands at baseball games and hir-

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                                    PARALLEL BAR,                                        WALKING.




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                                        •UK£ SONS & Co.
                                         THE LARGEST CIGARETTE
                                    MANUFACTURERS INTHE WORLD.
                                      4•••••••••+,. 40.




           Collectible cards, first introduced in 1878, proved a popular ploy in the cigarette wars. They
           even gave rise to a new hobby, "cartophily," with albums, specialty dealers, and auctions. The
           images emphasized celebrity, exoticism, masculine adventure, physical vitality, and sex. This
           card is tame in comparison to the "Sporting Girls" series issued after Duke had taken charge of
           American Tobacco. In exchange for 75 premium certificates, smokers received a deck of "artis-
           tic pictures" featuring buxom models in harem attire puffing away at cigarettes and striking
           come-hither poses.

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        ing street urchins to give away samples outside tobacco stores. In 1884 Duke
        personally laid siege to New York City. He opened a small, Bonsack-
        equipped factory on Rivington Street, but soon had to move to larger quar-
        ters. He dispatched runners with bulging sacks to greet immigrants, many of
       whom were already familiar with cigarettes. Handing each arriving male a
       pack, they cast Duke's nicotinic bread upon the nation's waters. "These peo-
       ple will take our cigarettes all over the country," he reasoned. "It's whopping
       good advertising."8
          Duke understood that large-scale machine production of cigarettes and
       other tobacco products would inevitably lead to concentration in the indus-
       try. So did his four leading rivals, who were steadily losing ground to his re-
       lentless cost cutting and lavish advertising. In 1889 they agreed to form Amer-
       ican Tobacco, capitalized at 25 million dollars, with Duke as its president.
       His first move was to purchase exclusive rights to the Bonsack machines, as-
       suring control of mechanized cigarette production. He also began acquiring
       other companies and factories, buying out 25o of them during his career. By
       1900 his trust controlled 93 percent of U.S. cigarette output and the lion's
       share of snuff, chewing, and smoking tobacco —hedges against the possibility
       that reformers might succeed in crippling the still-controversial cigarette in-
       dustry. Duke was so entrenched that he could dictate retail profit margins
       and leaf prices for farmers, who received as little as three cents per pound.9
          Still he kept driving to lower costs, installing machinery to make foil wrap-
       pers, fold coupons, and perform a hundred other tasks. "I stood by a machine
       into which the cut tobacco was poured through a chute," the Danish-Ameri-
       can reformer Jacob Riis wrote of a June 1910 visit to a North Carolina tobacco
       factory,
           and [it] came out packed in the familiar little bags, all ready for the store
           counter. While it was on its way, at one point a pair of steel fingers
           reached down, plucked a revenue stamp from somewhere, pasted it on
           and then reached for another. It was the very perfection of mechanical
           skill. Where the bags came out sat a colored boy who caught them as
           they came and with a single twist tied two little cords that closed them
           up. He did it once every second, never anything else, day after day, year
           after year.'°
      Riis told this story to illustrate how assembly-line jobs could turn child labor-
      ers into mindless automatons. But it is equally, if backhandedly, a testament
      to the power of specialized machinery. With additional improvements, me-

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            chanical devices like this one took over almost all the manufacturing and
            packaging functions, further reducing the cost of tobacco products. What
            Duke really wanted to do was to make the colored boy disappear.

                                          The Mustard Seed
            Duke's Rockefellerian tactics inevitably provoked retaliation. Ruined rivals,
            reduced to working behind company store counters, stole from his tills.
            Night-riding farmers torched company warehouses. Editorialists fumed. The
            Justice Department filed an antitrust suit. After years of litigation, the Su-
            preme Court ordered the dissolution of American Tobacco in 1911. By then,
            however, Duke had fashioned an even more ambitious enterprise, the Brit-
            ish-American Tobacco Company, or BAT.
              BAT was born of invasion. Duke bought up the Liverpool firm of Ogden
            Ltd. in 1901, intending to use it as a base from which to gain control of the
            British and ultimately the European cigarette trade. Rival firms united to
            form the giant Imperial Tobacco Company. Its sole purpose was to fend off
            Duke, whose very presence in the country inspired jingoistic panic. The war
            lasted until 1902, when the two sides struck a momentous deal. Imperial's di-
            rectors purchased Ogden and retained control of the home market. Ameri-
            can Tobacco would not independently distribute its products in England,
            nor Imperial its products in America. A third entity, British-American To-
            bacco (BAT), was to exploit all other foreign markets save those, like France
            or Spain, closed by government monopoly. Duke was to head the new com-
            pany; American Tobacco owned two-thirds of its stock. BAT was, wrote
            Duke's biographer, the nearest approach to a world trust ever organized in
            any industry.
              Duke used BAT to export technology, organization, and advertising tech-
            niques as well as cigarettes. His greatest success was in China, a country in
            which he already had sizable interests. When Duke first learned of the power
            of the Bonsack machine, he reportedly asked for an atlas. Turning the pages,
            he looked, not at the maps, but at the population figures. When he came to
            the legend "Pop.: 430,000,000," he said, "That is where we are going to sell
            cigarettes.""
              In 1905 Duke chose fellow North Carolinian James Thomas to direct his
            China operations. A self-styled "missionary" for the cigarette, Thomas held
            the post until 1922, becoming the highest-paid foreign businessman in Asia.
            He combined energy and determination with an unusual degree of empathy
            and tact. Southern manners played well in China. Early on he recruited

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       A Richmond, Virginia, cigarette factory in 1887. Duke's mechanization of the industry would
       soon drive such labor-intensive establishments out of business.

       Wu T'ing-sheng, a 20-year-old Chinese college graduate who spoke excellent
       English. At first Wu told Thomas that the prospect of peddling cigarettes was
       disgraceful. Thomas did not argue. Instead, he told Wu the parable of the
       mustard seed. Grasping the point that great things might come from humble
       beginnings, Wu changed his mind and began hawking cigarettes. He rose to
       become BAT's leading comprador.
         With the help of men like Wu, Duke and Thomas created an integrated
       system of mass production and distribution in China similar to that already
       operating in the United States. It stretched from the tobacco fields, whose
       cultivators were given free Bright tobacco seeds, to modem factories, to
       camel trains stretching across the Gobi Desert. Thomas thought of every-
       thing. Believing, as one recruit later put it, that only inexperienced and ad-
       venturous young men would be fools enough to risk what he and the direc-
       tors proposed, Thomas recruited and trained bachelors as salesmen. He
       urged those who stuck it out to learn colloquial Chinese and become famil-
       iar with the dialects of their particular regions. Those who passed the BAT
       language tests earned a 50o-dollar bonus. He hired native "teachers" of a dif-
       ferent sort, men who simply walked about lighting and smoking cigarettes,
       demonstrating the technique to peasants who at first tried to bite their free
       samples.
         BAT's success depended heavily on the collaboration of Chinese mer-
       chants, compradors, tobacco farmers, and factory workers, many of them fe-

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             male. Because foreign copy writers were apt to blunder into disastrous inad-
             vertent puns, with which the Chinese language is strewn, native artists took
             charge of the advertising campaign. Their slogans and bright placards, so at-
             tractive that they were appropriated as home decorations, blossomed every-
            where. BAT operatives imported the latest in printing presses and kept them
             humming. Eventually they built the single largest and most expensive adver-
            tising device in China, a tricolor clock sign in Shanghai, 13o feet tall, that
            touted Ruby Queen cigarettes in io-foot-square neon characters. The com-
            pany's own movie studios made films extolling the virtues of Ruby Queen, Pi-
            rate, and other BAT brands.
               BAT's success also hinged on pricing. "We knew that our tobacco was
            good," Thomas recalled, "and we used every endeavor to distribute it eco-
            nomically, so that people with small purchasing power could enjoy it." A
            copper coin, worth about half a cent, purchased five cigarettes. "I often used
            to think" —Thomas again —"as I watched a native smoking his cigarette that
            nothing in the world he could have bought at the price would have given
            him the same amount of pleasure and comfort. The volume of our business
            testifies to this." So did BAT's annual dividend. It rose from 6 percent in 1902
            to 26.5 percent in 1924.12
               Duke apparently hoped that BAT cigarettes would supplant opium smok-
            ing, which was under increasing attack by missionaries, nationalists, and
            other reformers in the early twentieth century. When Duke died in 1925, one
           BAT official claimed that he had combined "business with humanity by
           weaning the Chinese . . . from opium by teaching them to smoke North
           Carolina cigarettes." Whether this was necessarily humane and whether or to
           what extent it actually happened are open questions. What is certain is that
           by 1916, a year when BAT's China cigarette sales were approaching—by
           some estimates they had already well exceeded —the 1.0 billion mark, this sin-
           gularly addictive form of smoking had become popular with all classes and
           ages, including children. BAT's China operations, which continued to ex-
           pand during the 1920S and 1930s, managed to survive sporadic nationalist
           boycotts, Chinese competition, and civil and world warfare. They did not
           cease until Mao, himself a heavy smoker, formally transferred them to the
           Chinese government in 1952.13
               Duke did not succeed everywhere in Asia. To get around unfavorable tar-
           iffs, he bought a controlling interest in the Murai Brothers, a Japanese to-
           bacco company, and sent a genteel ex-Confederate named Edward Parrish to
           oversee its expansion and operation. Parrish reached deep into the familiar

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                   IN.a Kai
               December 211t 1925




      Cover of the program for a BAT staff dinner, held in honor of Sir Hugo and Lady Cunliffe-
      Owen's visit to China. He succeeded Duke, who stepped down as director of BAT in 1923. The
      program included a menu with four kinds of meat and a quiz for guessing the weights and
      heights of the well-fed dignitaries who constituted the company's China Board. ("Side bets per-
      mitted.") After Cunliffe-Owen returned to London, he announced another year of record
      profits.
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            bag of Duke tricks. Marching bands paraded through remote mountain vil-
            lages; uniformed sales girls distributed Murai cigarettes beside the free smok-
            ing stand at the 1903 Osaka Exposition. As in Britain, the aggressive tactics
            provoked a nationalist reaction. Rival brands played upon patriotic sentiment
            in their ads: "Hard Fight of Tengu Cigarettes!!! Cruelty and Danger of the
            Foreign Trust!!!" The Japanese government, which had carefully studied the
            operation of. European tobacco monopolies, had other plans. In 1904 it na-
            tionalized the cigarette industry. Working through Parrish, Duke negotiated
            the best compensation he could get and pulled out. He contented himself
            with the growing markets in China, India, Burma, and other lands where
            BAT gimmicks were winning over a new generation of smokers.14

                                   A Stroll Down Madison Avenue
             No one would ever again dominate the tobacco industry the way Duke did in
             the first decade of the twentieth century. Though companies occasionally
            conspired to fix prices and divide markets, as Philip Morris and BAT alleg-
            edly did in Latin America in the late 198os, the industry long ago settled into
            a pattern of competitive multinational oligopoly—that is, a handful of large
            firms fighting one another for market share at home and abroad. The only
            true monopolies to survive were those run by governments, such as the
            China National Tobacco Corporation. Protected by heavy tariffs against im-
            ported brands, it reached the point in 1998 where it was producing a third of
            the world's 5-trillion-plus cigarettes and fully 12 percent of the Chinese gov-
            ernment's revenue.15
               The U.S. companies —American Tobacco, R. J. Reynolds, Liggett and
            Meyers, Lorillard, and others —that were spawned by the judicial breakup of
            Duke's empire had no such protective advantages. They had to struggle to
            stay out of commodity hell. They did, however, have help in the form of in-
            creasingly sophisticated advertising and public relations agencies. Their well-
            paid assistance enabled the tobacco companies to build brand recognition
            and loyalty, recruit millions of new smokers, improve their products, counter
            health concerns, and further expand the global cigarette market.
               Unprecedented sums poured into advertising in the 1920s. Charles
            Lindbergh turned down 5o,000 dollars to publicly endorse a cigarette after
            his epochal transoceanic flight in the Spirit of St. Louis. Tareyton had better
            luck with the Question Mark, an Army trimotor that stayed aloft for almost
            a week during a widely publicized endurance trial in January 1929. A thou-
            sand Tareytons passed from the refueling plane to the Question Mark's grate-

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       ful crew. Ad men pondered equipping all South American passenger
       planes with the brand: "One flight down there over the mountains is particu-
       larly hazardous and will make some excellent pictures and news copy." BAT
       sales teams in Chile used airplanes to parachute samples of Compadre
       cigarettes, while blaring their advertising pitch through megaphones. Ameri-
       can Tobacco's promoters saw another possibility in aviation: they offered
       Major Jack Savage, the pioneering skywriter, a thousand dollars a day to in-
       scribe "Lucky Strike" in chemical smoke in the sky above New York and
       other cities.16
          In 1948 the Lucky Strike advertising account, swollen to 12 million dollars,
       moved to Batten, Barton, Durstine, and Osborn. Bruce Barton, a best-selling
       writer, former Republican congressman, and one of America's most success-
       ful advertising executives, immediately began brainstorming about new ways
       to sell the brand. His correspondence suggests the sheer ingenuity that went
       into promoting cigarettes and Madison Avenue's sophisticated understanding
       of their dual nature as psychoactive drugs and as social products.
          Barton thought a lot about women smokers, who represented a critical
       growth area. Would Emily Post consider endorsing a series of advertisements
       on the etiquette of female smoking? ("Don't smoke while taking dictation in
       the office.") Would a health-based appeal to thinness work? Why not light a
       Lucky instead of taking those last few fattening mouthfuls? "Tension shortens
       life," mused Barton in another memo. "Tension makes one grow old faster.
       Best thing to do when you feel yourself getting tense is to light a Lucky . . .
       Amos and Andy coined `unlax.' Could we coin `un-tense'? It sounds silly, but
       probably L.S./M.F.T. sounded silly when it was first suggested."
          L.S./M.F.T. —Lucky Strike means fine tobacco —had been the brand's
       telegraphic slogan since 1944. Barton thought the fine-tobacco angle lent it-
       self to a new approach: "You live only once. Why not live like a millionaire?"
       The logic, he explained, was that "you can't have a Rolls Royce. You can't
       have a house on Fifth Avenue. You can't spend your summers in Newport.
       But in one thing, by God, you can be just as well off as the richest man in
       America. You can smoke the finest tobacco. Light a Lucky, and feel like a
       millionaire."
          The every-man-a-king pitch would work even better if real kings smoked
       Luckies. Barton could try to arrange that. While dining in November 1949 at
       the Waldorf Towers with Mr. Hoover —Herbert or J. Edgar not specified, but
       in Barton's Olympian circles it was probably the former President— inspira-
       tion struck. Looking at the company around him, Barton concluded that the

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         Waldorf was becoming a haven for hard-up royalty. Why not hire the Duke
         of Windsor and his ilk to extol American cigarettes, saying: "They are so good
         and so much wanted that in 'many parts of the world they actually serve in-
         stead of money. I have tried all your brands since I have been here, and I like
         Lucky Strike the best." Negotiations for royal puffery would be delicate,
         Barton warned his staff. The publicity department would be out of its depth.
         "We ought to get Mrs. Astor, or some top-notch socialite who can use a little
         extra dough."17 As it happened, the Duke never endorsed Lucky Strike,
         though Barton was right about his financial worries. He and the Duchess
         eventually left America and settled in less expensive France.
           The means by which R. J. Reynolds's advertisers sought endorsements of
         Camel cigarettes were more cold-blooded still. For years they broadcast the
         reassuring claim that more doctors smoked Camels than any other cigarette.
        The claim had an empirical basis, of sorts. Interviewers stationed themselves
         outside a New York City hotel where physicians were attending a medical
         conference. They asked them a series of routine questions: Did you travel by
         car or plane? Did your family come with you? Buried inside the seemingly
        innocuous questionnaire was the following: "Doctor, do you smoke ciga-
         rettes?" If the physician said yes, the interviewer asked what kind he smoked
        and whether it was the kind he had on him now. As it turned out, a large per-
        centage were carrying Camels. "Unbeknownst to the people who read the
        ads based on these claims," explained a confidential memo, "was the fact that
        the interviewers had placed in the doctors' hotel rooms on their arrival car-
        tons of Camel cigarettes. The chances are that the doctors ran out of
        cigarettes on arrival, and conveniently put a pack of Camels into their own
        pockets.""
           By the 196os large, full-service advertising agencies were playing a role in
        the ongoing technological enhancement of the product. For years, manufac-
        turers had been tinkering with cigarettes. They had experimented with differ-
        ent blends of tobacco; had learned to use reconstituted "sheet" made from
        tobacco stems, scraps, and dust; and had introduced filters and flavors and
        crush-proof boxes. Philip Morris began using ammoniated tobacco in 1965,
        freeing up more nicotine for absorption in the lungs —the hidden chemistry
        behind the Marlboro's success.19 Those modifications that were not trade se-
        crets were heavily promoted by the agencies, which pitched triple filters to
        health-conscious smokers and menthol brands to those who thought smok-
        ing hot and dirty. But the advertisers, who made it their business to under-


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     stand consumer motivation in intimate detail, also suggested improvements
     to the manufacturers themselves.
        In 1969 J. Walter Thompson put together an intra-agency task force to pro-
     pose profitable new products for Liggett and Meyers. Its members reviewed
     market surveys, attitude and image studies, scientific reports, advertising
     analyses, and comments from focus groups. They concluded that most peo-
     ple smoked automatically, lighting up in certain situations without even
     thinking about it. The cigarette acted as an omniprop, giving people an ex-
     cuse to pause, gather their thoughts, take a break from work. It provided tac-
     tile and oral pleasure. More sensuous, velvety paper might enhance ciga-
     rettes' appeal. So might a "soft, pliable filter that allows more sucking,
     chewing than present filter." A nipple-shaped filter "that fits more comfort-
     ably into [the] mouth and provides more contact points with lips" was an-
     other possibility. But nicotine remained the key to the cigarette's success.
     "Only plants with active pharmacological principles have been employed
     habitually by large populations over long periods," they noted, citing coffee,
     tea, betel, cannabis, qat, and opium as parallel cases. "Smoking becomes a
     habit because of the nicotine content." If nicotine was the essential ingredi-
     ent, why not also put it in smokeless products like lozenges? Or concentrate
     it in lower-tar cigarettes aimed at health-conscious customers?2°

                                    Carry on Smoking
     It was prescient advice. Between 1982 and 1991 the average nicotine content
     in U.S. cigarettes rose more than ro percent, with the largest increases in low-
     tar brands.2' The introduction of nicotine-rich, low-tar cigarettes was just one
     of many responses to consumers' health fears, undoubtedly the industry's
     central problem in the second half of the twentieth century. The problem
     first reached critical mass in the early 195os after the publication of several re-
     ports linking cigarettes to lung and other cancers.
        Tobacco executives hated the pioneer cancer researchers. They hated
     them for selfish reasons, because they threatened their profits, but also for
     sentimental ones, because they spoiled the "innocent" pleasure people took
     in cigarettes. America in 195o was a smoker's paradise. The haze was so thick
     in New York's legendary Birdland nightclub that the canaries behind the bar
     died within weeks of its opening. Social custom and the millions invested in
     advertising over the years had fostered an ideal mind-set for smoking. Every-
     body's in on the fun, so relax and light up. Cancer destroyed this comforting


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           illusion and, with it, the industry's pet rationalization. Tobacco executives
           liked to think of themselves as doing good while doing well. What James
           Thomas thought as he watched a native smoking a cigarette, that nothing in
           the world he could have bought at the price would have given him the same
           amount of pleasure and comfort, was in fact the moral foundation of the in-
           dustry—that, plus jobs and government revenues. Alton Ochsner, Ernst
           Wynder, and other white-coated messengers of malignant doom were sys-
           tematically undermining that foundation. By linking cigarettes to a specific
           lethal disease, they were transforming a product that alleviated anxiety to one
           that massively produced it. And they were turning the medical profession de-
           cisively against cigarettes. Doctors were quitting and advising their patients to
           do likewise."
             The industry initially responded with denial and buck-passing. "You hear
          stuff all the time about 'cigarettes are harmful to you' this that and the other
           thing," Arthur Godfrey reassured his television viewers in September 1952.
           Not to worry. Chesterfields wouldn't harm your nose, throat, or "accessory
           organs." A responsible consulting organization and a competent medical spe-
          cialist had vouched for it. Industry leaders like American Tobacco's Paul
           Hahn realized, however, that every-brand-for-itself health malarkey was self-
          defeating. It only served to increase public awareness of the cancer issue. (It
          was a dull viewer indeed who didn't understand "accessory organs" as a eu-
          phemism for lungs.) What tobacco needed was a united front. In December
          1953 Hahn met with his counterparts in New York's luxurious Plaza Hotel.
          They agreed to create the Tobacco Industry Research Committee."
             TIRC had money, talent, and clout. The tobacco executives endowed it by
          imposing upon themselves a tax of one-quarter cent per i,000 cigarettes, plus
          additional appropriations as needed. They hired Hill and Knowlton, a lead-
          ing public relations firm with headquarters in the Empire State Building, to
          direct TIRC's day-to-day operations. With Hill and Knowlton's assistance, it
          quickly became a smoothly running disinformation machine. TIRC ran full-
          page advertisements in (white) newspapers denying proof that cigarettes
          caused lung cancer. It distributed booklets quoting authoritative disavowals
          of the link between smoking and malignancy. It corrected "misstatements"
          about tobacco and health in the press and collected potentially damaging in-
          formation about tobacco opponents, lay and scientific. It funded laboratory
          and epidemiological research to give the impression that the industry was
          anxious to get at the facts and not callous to considerations of health. Implicit
          in this effort was the assurance that, should this research turn up a cancer-

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        causing agent, the companies would quickly eliminate it from cigarettes, re-
        storing full consumer pleasure and comfort. In the short run, these tactics
        prevailed. Though the link between smoking and cancer remained a contro-
        versial and widely reported issue in 1955, the sense of crisis had eased and cig-
        arette sales were again rising.24
           TIRC researchers also monitored developments abroad. Lung cancer
        deaths were up sharply in Belgium, France, and other continental nations,
        but European smokers displayed more sang-froid than Americans. The only
        discernible trend among Parisian tobacconists, for example, was the in-
        creased sale of filter-tipped cigarettes. Reports from England were likewise
        encouraging. In 1956 the leading British firms established their own version
        of TIRC, blandly called the Tobacco Manufacturers' Standing Committee
        (TMSC). Because it had to operate under different institutional and cultural
        constraints, among them "the extremely prickly and reserved attitude of Brit-
        ish doctors towards all forms of external patronage," TMSC necessarily be-
        haved more circumspectly. Nevertheless, it adopted many of the same obfus-
        cating and diversionary tactics pioneered by TIRC. It questioned the validity
        of purely statistical inquiries, called attention to the industry's generous fund-
        ing of lung cancer research, and challenged the findings of particular scien-
        tists that ran contrary to tobacco interests.
           TMSC did not limit its operations to disinformation. Anxious to discern
        the impact of government and Medical Research Council propaganda
        against smoking, it conducted surveys of public and medical attitudes toward
        tobacco and health. The news was mostly good. "The public," concluded the
        authors of one study, "appear to be quite content with the present state of af-
        fairs. They know that specialists are working in cancer research and no doubt
        in due time will provide the final answer; the tobacco manufacturers are aid-
        ing the research financially; in the meantime, carry on smoking!" Alan
        Campbell-Johnson, TMSC's public relations adviser, privately offered a
        blunter assessment: "The forces of inertia and addiction are still stronger
        than those of cost and risk." In Britain as in America, the tobacco industry, as-
        sisted by public relations consultants, won the first battle of the, cancer wars."
           Yet the medical evidence continued to pile up: heart disease, emphysema,
        low birth weight. In the wake of the 1964 Surgeon General's report and tele-
        vised public service announcements against smoking, cigarette consumption
        finally began declining in the United States. It fell steadily from about a half
        pack per adult per day in the mid-196os to a third of a pack in the early 199os.
        By then as many as half a million Americans per year were dying prematurely

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          of smoking-related illnesses, a million were quitting, and another 15 million
          were trying to. The domestic consumer base was eroding."
            The tobacco companies had two ways out, both critically dependent on ad-
          vertising. First, they could recruit teenage smokers to replace those who died
          or quit. Though the industry has, for legal reasons, steadfastly denied this in-
          tention, any fair reading of the confidential internal correspondence that has
          come to light suggests otherwise. "To ensure increased and longer-term
          growth for CAMEL FILTER," declared a 1975 R. J. Reynolds memo, "the
          brand must increase its share penetration among the 14-24 age group, which
          have a new set of more liberal values and which represent tomorrow's ciga-
          rette business." "To the best of your ability (considering some legal re-
          straints)," advised a youth-conscious Brown and Williamson consultant that
          same year, "relate the cigarette to 'pot,' wine, beer, sex, etc. Don't communi-
          cate health or health related points." One J. Walter Thompson executive, re-
          viewing a you-can-smoke-less pitch for Chesterfield's purportedly richer to-
          bacco, turned his thumb down. "Not an appeal to youth —live dangerously,"
          he scribbled in the margin."
            Ad men everywhere understood that recruiting new teenage smokers
          meant presenting cigarettes as a means of resolving their psychological quan-
          daries and social anxieties. Young smokers weren't (yet) buying nicotine-
          delivery vehicles. They were buying accessories of identity. Cigarettes sym-
          bolized independence, sexual potency, and disdain for authority. (One Japa-
          nese brand was named "Dean," after the legendarily rebellious American ac-
          tor.) Teenagers glimpsed, if at all, the future costs of such posturing through
          the darkened glass of adolescent temporal myopia. They made perfect targets
          for cool brands and gear. Industry salesmen zeroed in on fast-food restau-
          rants, video arcades, and convenience stores —miniature bazaars of nicotine,
          alcohol, caffeine, sugar, fat, and salt that doubled as popular afternoon hang-
          outs. They larded up the stores nearest to junior and senior high schools
          with extra premiums and promotions: discount prices, free cigarette lighters,
          colorful T-shirts. "We were targeting kids," confessed Terence Sullivan, a
          Florida sales representative for R. J. Reynolds. "I said at the time it was un-
          ethical and maybe illegal, but I was told that was just company policy.""
            Company policy also stressed further expansion in foreign markets, the sec-
          ond means of maintaining or expanding the customer base. Cigarettes were
          already the most heavily advertised product in the American economy by the
          end of the 197os, and manufacturers poured additional billions into promo-


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       tions overseas, where they faced fewer regulatory obstacles. (Japanese warn-
       ing label: "For your health don't smoke too much.") Winston T-shirts ap-
       peared in Saipan, Camel sweepstakes in Truk, L&M billboards in Senegal,
       the Marlboro Man everywhere. Norway, where a center-left parliamentary
       coalition enacted a total ban on tobacco advertising, was the exception that
       proved the rule. Following the law's implementation in 1975, smoking
       among 13- to 15-year-olds, which had been steadily rising, began to decline, as
       did adult consumption of tobacco products."
          By 1996, when the World Health Organization announced a public health
       emergency, the strategy of offsetting domestic losses with overseas gains was
       plainly succeeding. Global consumption of cigarettes per adult was holding
       steady, while the total world market, buoyed by population increases, was
       growing at about i percent a year. BAT, the leading British exporter, was ex-
       panding aggressively in developing nations and in former eastern-bloc coun-
       tries. (The removal of the iron curtain, enthused BAT's Sir Patrick Sheehy,
       had created "the most exciting times I have seen in the tobacco industry in
       the last 40 years.") The big U.S. companies were doing more and more of
       their business overseas. Philip Morris, the most aggressive exporter, was sell-
       ing two cigarettes abroad for every one in the United States. With the help of
       trade pressure from the Reagan administration, Philip Morris had even man-
       aged to crack the Japanese market, accomplishing what James Duke had not.
       In 1994 the company accounted for one in every eight cigarettes sold in Ja-
       pan —a major coup, considering that two-thirds of Japanese men (and nearly
       half of Japanese doctors!) were smokers. By comparison, only about a quarter
       of all American adults were still smoking, and the best educated had practi-
       cally quit altogether. Just 6 percent of the Harvard-Radcliffe class of 197o, a
       group not notable for pulmonary abstemiousness in the late 196os, reported
       smoking in 1995. Relatively speaking, the United States, home of the world's
       most efficient tobacco companies, had become a nonsmoking island in a
       worldwide ocean of puffers."

                                          McWorld
       Historians call accounts like this one "internalist." The story of the expansion
       of the cigarette industry is about insiders and innovators who, faced with re-
       current problems such as how to increase market share without slashing
       profits or how to allay public fears, contrived a variety of organizational, tech-
       nological, and media solutions. Competitors copied those solutions or they


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            perished. The result of their collective efforts was that more people in more
            parts of the world smoked more tobacco in more efficient cigarettes, tricked
            out with the talismans of youth and health.
              Similar internalist tales can be told of other drug industries. Two centuries
            of tinkering with yeast strains and fermenting tanks and stills turned the man-
            ufacture of alcoholic beverages into a highly efficient enterprise, capable of
            producing a steady flow of attractively bottled beverages of consistent quality.
            Faced with flat or falling per capita adult consumption in increasingly
            health-conscious developed nations, manufacturers mounted a two-front
           campaign. They pitched sweet, fruit-flavored alcoholic drinks and ices to the
            rising generation of young drinkers, while simultaneously expanding their
           trade through slick advertising in developing countries like Malaysia or Zim-
           babwe —Marlboro tactics in an Absolut world. Illicit drug distributors found
           their own creative ways to cope with commodity hell. Heroin dealers com-
           monly employed brand names like "F-i6" or "Hydrogen Bomb" to empha-
           size the potency of their always-suspect street bags.31
              A complementary externalist account of the role of technology and adver-
           tising is also possible. Innovations outside an industry have often had as large
           an impact as the calculated ones that originate within it. Going back deep in
           time, it was a completely unrelated breakthrough, the domestication of fire,
           that made widespread drug use possible in the first place. If there had been
           no fire, there would have been no amphorae, pipes, tea, heated mash,
           refined opium, and so on. Controlled flame was the ur-technology of the psy-
           choactive revolution. Moreover, as time passed, the flame became more con-
           trolled and portable. The invention of the friction match was a great boon for
           nineteenth-century smokers, who promptly liberated themselves, their che-
           roots, and their bad examples from the confining realms of hearth and tav-
           ern. Without friction matches and their successors, cheap safety matches, the
           cigarette revolution would not have occurred, at least not until someone in-
           vented the mechanical lighter."
              Railroads and highways cut transport costs for licit drugs and simplified
           life for the couriers of illicit ones. Most of the cocaine distributed in India
           in the 192os and 193os was smuggled into Calcutta and then shipped along
           the two main railway routes running northwest through the United Provinces
           into the Punjab and beyond. (Unsurprisingly, cities like Benares that fell
           along the routes suffered the highest rates of addiction.) Nineteenth-century
           American moonshiners hauled their kegs to market down mountain trails
           on mule-drawn sleds; their twentieth-century descendants drove souped-

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        up cars on macadamized roads. Planes sped drugs and their promoters
        everywhere. The first commercial pilot in southeastern Alaska in 1923 was
        a salesman for Hills Brothers Coffee. "Civil aircraft," Lindbergh wrote in
        his autobiography, "laid every spot on earth open to the ravages of com-
        merce."
           Lindbergh, under no illusions about his own historic role in the transporta-
        tion revolution, brooded about "the deadly standardization that fast commu-
        nication brings." He dreaded the emergence of a homogeneous world domi-
        nated by North American consumer norms, intolerant of local customs,
        subversive of tribal ways, and destructive of the environment. The writer
        Benjamin Barber gave Lindbergh's nightmare a name: McWorld. Disturbing
        as McWorld may be for sensitive souls, not to say those of a fundamentalist
        turn, it has been a real boon to western drug manufacturers struggling to
        open new markets. It is perhaps the ultimate example of a technologically
        driven externality that turned out to be good for their business.33
           A look at a failed international advertising campaign shows why. In 1963
        Pepsi-Cola, trying to catch up with Coca-Cola, took its "Come Alive —You're
        the Pepsi Generation" campaign worldwide. It used a one-sight, one-sound
        approach, forcing the same images and themes on Pepsi bottlers everywhere.
        It didn't work. The generational pitch made little sense in cultures where
        teenagers did not think of themselves as a special non-adult group. In coun-
        tries like Germany or Japan adults, not kids, controlled the discretionary in-
        come for soft-drink purchases. "Come alive" was meaningless or untranslat-
        able in many languages. Pepsi, concluded Albert Stridsberg, an expert on
        international advertising, had ignored the prevailing wisdom of global mar-
        keting. People lived, and each sale was made, in local markets. International
        success meant adapting to many local markets, varying advertisements, sugar
        content, container size, and price as necessary. Promoters of new products
        had to traverse a cultural minefield. BAT, which recruited native talent to
        help sell its cigarettes, nimbly picked its way through. Pepsi blundered in and
        got blown up.
           But the media-driven rise of McWorld and the concomitant spread of
        American English and juvenile mores made it progressively easier to navi-
        gate the minefield and simplified the international promotion of drug prod-
        ucts. One of the first to spot the trend was Stridsberg himself. By the late
        196os he was describing the emergence of a viable international style of ad-
        vertising, headquartered in New York, London, and Paris. Though national
        markets were not yet identical, Stridsberg cautioned, they were becoming

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             more similar as affluence, travel, transistor radios, satellites, and commercial
             television facilitated the spread of western ways. These and other electronic
             advances (Stridsberg correctly predicted that "satellite relays, coaxial cables
            and memory banks" would coalesce into a global sound and image network)
            paved the way for dominance by western images and world products. Inter-
             national campaigns geared to youth themes worked much better in an MTV
            world. So, for that matter, did the much more informal promotion of illicit
            drugs. The stronger the western cultural orientation of Zimbabwean school
            children, for example, the more likely they were to experiment with cannabis
            and inhalants.34
               Richard Rhodes, in his epic The Making of the Atomic Bomb (1986), medi-
            tates upon nation-states' appropriation of applied science and industrial tech-
            nology to create weapons of mass destruction. To protect themselves and fur-
            ther their ambitions, they caused ioo million deaths in the wars of the
            twentieth century. Most of those loo million died between 1914 and 1945; nu-
            clear warfare was the climax of a mechanized annihilator)/ process that
            stretched from the Marne to Nagasaki. Rhodes thinks the decline in the ca-
            sualties after 1945 was no coincidence. The capacity for military destruction
            became so great that it forced a political reassessment of total war, which the
            leaders of the great powers came to view as an exercise in mass suicide.35
               Something similar, but also something different, has happened with drugs.
            The corporations and cartels that manufacture drugs have, with the conniv-
            ance of tax- and export-conscious nation-states, utilized applied science and
            industrial technology to protect their profits and expand markets. Like the
            military, they have devised their own technologies and exploited those that
            evolved elsewhere. They have caused well over ioo million premature deaths
            during the twentieth century, 8o million from tobacco alone. The carnage
            has provoked a worldwide public health reaction to alcohol and especially to-
            bacco products, which many reformers would like to see added to the sched-
            ules of restricted substances and banned from advertising."
               The reformers have not yet succeeded. The death toll from legal drugs has
            continued to rise. The reasons, reduced to their essentials, are money and
            power.




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                            LICIT AND ILLICIT DRUGS



                              MODERN REGULATORY REGIMES divide psychoac-
       tive drugs into seven categories. These categories, illustrated with current
       American examples, appear in the table on the following page. They form a
       continuum of legal access, ranging from outright prohibition to unrestricted
       availability. This continuum intersects with another, taxation, to form a sim-
       ple graph. The tax axis runs from zero to prohibitory. The point of origin —
       universal access, zero tax—is the free market. Movement away from the free
       market along either axis, toward stricter regulations or heavier taxes, prompts
       illicit activity. What to do about such activity requires choices along a third
       policy axis, strength of sanctions. These range from warnings to fines to
       institutionalization to execution. The Chinese shoot heroin traffickers in the
       back of the head, or sometimes in the heart, if the police happen to have sold
       the corneas for transplantation, rather than the kidneys. They then send a
       bill for the bullet to the condemned man's family.'
          The Chinese do not, however, shoot the merchants of tea or whiskey or cig-
       arettes. Despite the worldwide trend toward increased regulation, higher
       taxes, and stronger sanctions during the twentieth century, caffeine, alcohol,
       and tobacco have remained more legally accessible than opiates, cannabis,
       cocaine, and most synthetics. American Prohibition, a seeming exception to
       this generalization, was neither pure nor prohibition. The Volstead Act per-
       mitted sacramental use and limited home brewing, as well as alcoholic pre-
       scription. Bonded warehouses, guarded by dogs and electric alarms, held
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           thousands of barrels of medicinal whiskey. It was perfectly legal, if sometimes
           obtained by means of forgery. Big-city taxi drivers offered counterfeit pre-
           scription orders for two dollars apiece.'

                   REGULATORY CATEGORIES FOR PSYCHOACTIVE DRUGS

                Pure prohibition. No manufacture, sale, or use allowed, e.g., heroin.
                Prohibitory prescription. Prohibited except for narrow therapeutic
                   purposes unrelated to addiction, and then only if administered by
                   health-care professionals, e.g., cocaine.
                Maintenance. Prescription allowed for relief of addiction, but only
                   under supervision, e.g., methadone.
                Regulatory prescription. Unsupervised self-administration allowed
                   for those holding a valid prescription, e.g., Valium.
                Restricted adult access. No prescription required, though availability
                   is legally limited, e.g., alcohol sold only to unintoxicated persons
                   during certain hours.
                Unrestricted adult access. Sufficient age the sole criterion of pur-
                   chase, e.g., tobacco.
                Universal access. Available to any individual, e.g., caffeinated bever-
                   ages.


             Easier access to alcohol, tobacco, and caffeine is plainly a global, not just a
           western, pattern. Alcohol is even legally available in many Islamic nations,
           though its status is controversial and fluctuates with the political fortunes of
           the local fundamentalists. Why, then, did these three drugs, all of which
           have toxic properties and all of which can lead to dependency, fare so much
           better than other drugs in the regulatory era? What objections have arisen to
           their liberal treatment? Is the distinction between licit and illicit drugs likely
           to persist?

                                 The Harmfulness of Licit Drugs
           Caffeine's privileged status is the easiest to explain. Though medical authori-
           ties from Paulli on have warned of the effects of caffeinated drinks, their cau-
           tionary tales have typically featured heavy consumers —the "nerve-wrecked
           slaves," as one authority called them. Nineteenth-century French devotees of
           coffee ("strong enough for any man to walk on that has Faith as Peter had")
           produced some of the most spectacular cases. However, moderate use, while

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                             LICIT    AND ILLICIT       DRUGS


        not without adverse effects, has yet to be convincingly linked to life-threaten-
        ing illness. Caffeine lacks the equivalent of cirrhosis or lung cancer. Nor is
        there any connection to crime or violence. Coffee, as John McCann puts it,
        intoxicates without inviting the police. Intravenous caffeine is another mat-
       ter, but this mode of administration, apart from adulterated street drugs, is
       rare. Small oral doses of a drug, especially when integrated into daily life, are
       always less dangerous than injecting alkaloids.'
          Caffeine, to extend the metaphor, keeps the police away. Its antidepressant
       properties have prevented suicides; its awakening effects have prevented
       nighttime driving accidents. It has drawn little in the way of official or, with
       the exception of the Mormons, religious opposition. Caffeine is kosher.
       Coca-Cola ads aimed at Israel's Orthodox community simply replace scantily
       clad models with nice boys in side curls. Protestants have long approved of
       caffeinated beverages as benign alternatives to alcohol. Buddhists have relied
       on tea to ward off the "the devil of sleep." Catholic priests have sipped tea to
       get through all-night marathons in the confessional. Caffeine cuts across all
       social classes, provides employment for tens of millions of people, and is pop-
       ular with elites. Ninety percent of Dutch parliamentarians drink coffee, half
       of them five or more cups a day. No chance of a ban there.4
          Alcohol is a very different matter. In 1958 Maurice Seevers published ad-
       diction liability ratings for different drugs in a standard pharmacology text-
      book. He assigned points for their ability to produce tolerance, emotional de-
      pendence, physical dependence, physical deterioration, antisocial behavior
      during administration, and the same during withdrawal. The maximum
      score was 24, or 4 points in each category. The highest actual score was for al-
      cohol, at 21 points. Barbiturates earned 18 points; heroin 16; cocaine 14; mari-
       juana 8; and peyote 1. A glance at these numbers shows that the degree of
      danger was conspicuously out of sync with the prevailing regulations. Alco-
      hol, Seevers's worst drug, was among the most available. Lawrence Kolb, the
      leading U.S. expert on narcotic addiction, made a similar point in the privacy
      of a 1957 letter. "Marihuana intoxication is less dangerous than alcoholic in-
      toxication," he wrote. "[It] is a mixture of pleasant and fantastic symptoms
      likely to lead to reverie and contemplation rather than to the fury, irresponsi-
      bility, and foolish activity so commonly associated with alcoholic intoxica-
      tion."'
         Tobacco's easy availability also defies straightforward medical explanation.
      While not intoxicating in the same sense as alcohol, tobacco's use has long
      been recognized as addictive and unhealthful. Well before the lung-cancer

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            research, critics blamed it for enslaving users, heightening mortality, impair-
            ing vision, corrupting youth, and encouraging intemperance. Had Seevers
            applied his criteria to nicotine —and it is interesting that, in 1958, he did
            not —it undoubtedly would have merited a 14 or 15 on his addiction liability
            scale, about the same as cocaine. Caffeine would have scored 4 or 5.
              However measured, the dangers of licit drugs have prompted endless
            charges of hypocrisy and irrationality. An entire genre of drug literature, of
            which Edward Brecher's Licit and Illicit Drugs (1972) is the progenitor, as-
            sesses the relative harms of different drugs and then professes dismay at their
            misalignment with policy. Alcohol and tobacco are exhibits A and B.6

                                           Drug Realpolitik
            The campaigns against alcohol and narcotics that quickened in the late nine-
            teenth century were rhetorically very similar. The charges leveled at the
            one —racial poison, moral corrosive, pauperizer— were leveled at the other.
           Alcohol, as Norman Kerr put it, was a "narcotic poison." Yet it outlived all at-
            tempts at national prohibition. It was never a serious candidate for global reg-
            ulation. Until recently, few described or treated it as a "drug."
              The most obvious reason for alcohol's privileged status was the industry's
           size and fiscal importance in the western nations that dominated the world's
           economic and diplomatic affairs. Counting all the producers, retailers, ship-
           pers, and cork makers, the early twentieth-century French alcohol industry
           affected the livelihoods of 4.5 to 5 million people, or roughly 13 percent of
           the French population. At the same time, alcohol taxes —then yielding the
           Russians, for example, an amount equivalent to their entire military bud-
           get —remained a bedrock of western finance. The same was true for many
           colonial governments in Africa and Asia. Alcohol taxes were crucial in both
           the "core" and "peripheral" regions of the modern world system. Opium, by
           contrast, was gradually declining in importance, at least within the British
           empire. The India-China opium trade was shrinking in the late nineteenth
           and early twentieth centuries, simplifying Britain's shift from chief protector
           of the traffic to advocate of international control.'
              Proceeds from the alcohol industry supported high culture as well as state
           bureaucracies. When he died in 1887, the Danish brewing magnate J. C.
           Jacobsen bequeathed his Old Carlsberg Brewery to a foundation for the pro-
           motion of the arts and humanistic and scientific research. The effect was sub-
           tly co-optive. To this day most Danes consider beer-drinking (a custom in


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      which they lead all Scandinavian nations) to be a benign, patriotic activity.
      What's good for Carlsberg is good for Denmark —or at least for its academic
      and artistic establishments, heavily dependent on the Carlsberg Foundation
      for funding.8
        The scale and location of alcohol production were also significant. Viticul-
      ture, brewing, and distilling flourished in Europe and throughout much of
      the non-Islamic world. Narcotic production, by contrast, was more confined.
      Poor nations and colonies in southern Asia grew most of the opium. Two
      places, Peru and Java, accounted for most of the coca. A handful of industrial
      nations manufactured cocaine and morphine. Germany, the most important
      of these, initially resisted control efforts. Its narcotic manufacturing capacity
      threatened the entire international regulatory enterprise, first laid out in the
      1912 Hague Opium Convention. But then Germany lost World War I. The
      British and American delegations to the Paris conference insisted that the
      treaties imposed on the Central Powers include the Hague Opium Conven-
      tion. Germany and Turkey, another recalcitrant nation, had to agree to ex-
      port controls, now under the supervision of the League of Nations. Though
      Hitler took Germany out of the League in 1933, Berlin quietly continued to
      cooperate with its drug-control authorities. The Nazis consistently, and
      strictly, opposed illicit trafficking.9
        The tobacco story closely resembles that of alcohol. The industry's eco-
      nomic impact and breadth of operations conferred a measure of immunity,
      as did the sheer number of addicted smokers. The cigarette revolution, with
      all it entailed for expanded consumption, deepened dependency, and
      heightened profitability, occurred before the most damning cancer evidence
      emerged. Had the U.S. government vigorously attempted to restrict smoking
      in the wake of the 1964 Surgeon General's report, Richard Kluger observes,
      the move would have affected upwards of 7o million smokers and 2 million
      stockholders, farmers, factory workers, retailers, publishers, broadcasters, and
      others in some measure financially dependent on tobacco. That was hardly a
      realistic prospect. (Nor would the United States—the tail wagging the
      world's drug control dog in those years —have acquiesced to international ex-
      port controls.) As cultivation and consumption spread in developing nations,
      tobacco's economic stake grew progressively larger. By 1983 world produc-
      tion and distribution provided more than 18 million full-time jobs. Factoring
      in workers' family members plus part-time and seasonal laborers, something
      like loo million people depended on tobacco for their livelihoods.m


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          Viticulture was a far-flung enterprise by the late nineteenth century; workers tended vines on
          every continent except Antarctica. The California labor force was the most heterogeneous, em-
          ploying Anglo-American, Native American, Latin American, European, and Asian workers,
          some of whom are shown here bringing in baskets of grapes and treading them out over red-
          wood vats. The economic and fiscal importance of viticulture, together with brewing and dis-
          tilling, made alcoholic beverages more resistant to prohibition efforts than other intoxicating
          drugs.

             Production and revenue on this scale conferred great co-optive power on
          the multinational tobacco companies. They were not loath to use it, whether
          through public relations campaigns, subornation of the media, political do-
          nations, arts endowments, sports sponsorships, or the purchase of lobbyists,
          expert witnesses, and lawyers. Philip Morris and R. J. Reynolds even provided
          90 percent of the funding for the American Civil Liberties Union's work-
          place privacy task force, which campaigned, among other things, for employ-
          ees' smoking rights."
            Pharmaceutical companies also proved adept at lobbying to protect endan-
          gered products. In fact, they managed to delay a comprehensive interna-
          tional treaty on psychotropic drugs until 1971, extracting several concessions

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       in the process. They had a similar impact on domestic regulations. Lester
       Grinspoon, a physician and drug historian, explained how the companies
       worked. While waiting to testify on the therapeutic use of cannabis before
       the Bureau of Narcotics and Dangerous Drugs (the chief federal enforce-
       ment agency from 1968 to 1973 and predecessor of the DEA), he listened in
       on another administrative hearing. It concerned the fate of pentazocine
       (Talwin), a Winthrop Pharmaceuticals product for which there was consider-
       able evidence of addiction, overdose, and abuse:
           Six lawyers from the drug company, briefcases in hand, came forward to
           prevent the classification of pentazocine or at least to ensure that it was
           placed in one of the less restrictive schedules. They succeeded in part; it
           became a Schedule IV drug. In the testimony on cannabis, the next
           drug to be considered, there was no evidence of overdose deaths or ad-
           diction —simply many witnesses, both patients and physicians, who
           testified to its medical utility. The government refused to transfer it
           [from Schedule I, the most restrictive] to Schedule II. Might the out-
           come have been different if a large drug company with enormous
           financial resources had a commercial interest in cannabis?"
       Cannabis as drug—or, more precisely, as folk and countercultural drug—
       never had the international corporate backing or fiscal influence that alcohol
       and tobacco enjoyed. This fact, along with its officially described links to
       crime and deviance (and, more recently, its status as a culture-war football),
       made it highly vulnerable to prohibitive pressure.

                                      Follow the Leaders
       The more liberal treatment of alcohol and tobacco also reflects the personal
       habits of influential leaders and celebrities. Historically, these have often
       worked to undermine drug strictures. It was Peter the Great, tutored abroad
       in the ways of smoking, who rescinded the Russian ban on tobacco. The
       snuff-taking Pope Benedict XIII performed similar offices for the Church.
       (The Vatican opened its own tobacco factory in 179o.) Leaders' vices had a
       way of becoming the official vices, the devil's corollary of cujus regio, ejus
       religio. If not legally sanctioned, they were at least more likely to be tolerated.
       The Chinese campaign against opium, for example, made less progress in ar-
       eas where key officials themselves indulged."
         The personal use of alcohol and tobacco, as well as caffeine, was extremely
       widespread among western politicians in the first half of the twentieth cen-

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              •THE FALL OF THE DESERT SHEIK
           Resistance, American style: lynching the Prohibition bluenose. The cartoon correctly predicts
           the demise of Prohibition as a result of the 1932 election.


           tury. Picture Churchill, Roosevelt, and Stalin seated together at Yalta: hardly
           a crew to do battle against alcohol and tobacco. Harry Anslinger, who
           smoked and drank Jack Daniels ("cheers you up on a bad day"), ended up
           with a cane and an oxygen tank. The professional classes were hardly more
           abstemious, particularly with respect to tobacco. So long as ministers, teach-

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       ers, businessmen, captains of industry, and socialites promoted smoking by
       their example, Harvey Wiley complained, "the habit will not be regarded as a
       moral obliquity."14
         As for doctors, they had trouble seeing the lantern-slide images through the
       clouds of smoke at their meetings. Richard Doll was a pioneer of lung cancer
       epidemiology. He observed that, if anything, there was less concern about
       the health effects of cigarettes when he began his researches in 1948 than
       there had been a half-century before. Heavy smoking had dulled the collec-
       tive sense of danger, both within and outside of the profession. (Asked if he
       were surprised by his own findings, Doll replied "very.") If exemplars like
       physicians were smoking, remarks the historian John Burnham, how could
       the public take seriously claims that the habit was harmful?
          Burnham calls attention to another important trend, the use of alcohol and
       tobacco by celebrities. The decanter and cigarette were ubiquitous props in
       Hollywood films, which rarely depicted other forms of drug use. The first all-
       talking movie, Lights of New York (1928) was about bootlegging. By 1930 four-
       fifths of all American films depicted at least some drinking. (I have found no
       comparable estimate for the European cinema, though alcohol and tobacco
       were hardly absent from the works of Rene Clair, Jean Renoir, and their con-
       temporaries.) One M-G-M director, Clarence Brown, remarked that the
       movies, by showing the immense role liquor played in American life despite
       Prohibition, helped change public opinion on the question. At a mini-
       mum, movie stars' smoking and drinking valorized tobacco and alcohol use,
       undermining Victorian scruples and allaying doubts about their health-
       fulness."

                    Popular Resistance: The Case of the Soviet Union
       Elite conduct, in short, reinforced and perpetuated the alcohol/tobacco dou-
       ble standard for most of the twentieth century. But what happened when
       elite practice and ideology ran against, rather than with, the grain of popular
       custom? The Soviet experience with alcohol control provides an excellent
       example — actually, two —of how popular resistance can frustrate official at-
       tempts to limit consumption even in a command economy.
         When the Bolsheviks came to power in 1917, they attempted to close wine
       and spirits factories and forbade the manufacture and sale of beverage alco-
       hol. "We shall never go back to vodka," boasted Nikolai Semashko, commis-
       sar for health, who envisioned prohibition on American lines. Drunkenness,
       like the state itself, would wither away. In 1923 Leon Trotsky declared that the

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          Bolshevik ban on vodka was one of the "two big facts" that had "set a new
          stamp on working-class life," the other being the eight-hour day.
             By the late 192os the government had ended prohibition and restored the
          monoporka, or state liquor outlet. Prisons, police, and threats of execution
          had all failed to overcome the Russian thirst for liquor. Partly it was a matter
          of cultural inertia. Drinking, especially binge drinking, was entrenched in all
          classes and both sexes to a degree unmatched in Europe. Partly it was a mat-
          ter of survival. Peasants, desperate for income, diverted their harvests to mak-
          ing samogon (home brew). And partly it was a matter of revenue. Better to
          finance socialism through the vodka monopoly, Nikolai Bukharin reasoned,
          than drown in an ocean of samogon. In September 193o Stalin ordered
          officials to "aim openly and directly for the maximum output." They did. By
          1940 more shops in the Soviet Union sold drink than sold meat, fruit, and
          vegetables.16
             And so alcoholism and public drunkenness became as much facts of life
          under the Communists as they had been under the Romanovs. Alcohol con-
          sumption, including both state-produced beverages and samogon, increased
          4.4 percent per year during the postwar era. Per capita consumption of abso-
          lute alcohol quadrupled between the 194os and the early 198os, by which
          time upwards of 15 percent of the population were alcoholics. The govern-
          ment covered up these trends, dropping vodka production from its statistical
          yearbook in 1963. It neglected, however, to omit the consumption of sugar,
          the preferred base ingredient for samogon. Annual per capita consumption
          rose from under 62 pounds in 196o to over 94 in 1979. Most of the increase
          went into stills.
             Under Leonid Brezhnev, the Soviet Union effectively became a govern-
          ment of drunks, by drunks, and for drunks. Politicians and diplomats were
          afraid to drink with the premier, whose capacity for vodka was legendary.
          The one man who could match him, Konstantin Chernenko, died of cirrho-
          sis of the liver. Once Brezhnev was driving back from the Zavidovo hunting
          lodge, Andrei Gromyko at his side. Gromyko was complaining that drunken-
          ness had reached a catastrophic level; it was affecting every aspect of Soviet
          life. Brezhnev patiently listened to Gromyko's arguments, then abruptly said,
          "But you know, Andrei, a Russian cannot do without it . . ." Gromyko imme-
          diately dropped the subject.
             But he had been right to raise it. Drunkenness was by then a society-wide
          calamity, increasing premature mortality, divorce, mental retardation, road
          deaths, industrial accidents, crime, and accidental fires. Ground crews

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       drained the de-icing fluid from military aircraft, distilled it, drank the alco-
       hol, and replaced it with water to disguise the theft. Pilots who had to use
       their de-icing tanks at high altitudes were in serious trouble. Researchers esti-
       mated that an alcoholic worker was 36 percent less efficient than an abstemi-
       ous one, a figure equivalent to 93 lost workdays a year. Miniaturization and
       computerization worsened the problem. Drunk and hung-over workers
       could not make or maintain complex electronic systems. In 1985 a group of
       scientists added up the social costs of alcoholism and came up with an an-
       nual figure of 18o billion rubles, about four times the sum derived from the
       sale of drink.17
         The reform-minded Mikhail Gorbachev was a moderate drinker. He was
       advised and influenced by people (not least his wife, Raisa) who thought al-
       coholism a national curse. In 1985 the government launched a campaign
       aimed at progressively restricting the supply of alcohol: less production, di-
       minished hours, fewer retail outlets. The city of Chelyabinsk went from 15o
       wine shops to only 4 in just two years. Officials ordered vineyards destroyed,
       liquor factories closed. Crime, absenteeism, and accidents decreased. Total
       per capita consumption, including bootlegging, fell nearly one-quarter, an
       unprecedented decline.
         Yet by 1988 the campaign was dead. The restrictions had produced long
       lines—the average Muscovite was spending 90 hours a year waiting to buy
       liquor —as well as widespread bootlegging and poisoning. Those who drank
       lacquer polish turned a violet hue. Some ii,000 died of methanol and related
       poisonings in 1987, a figure nearly equal to Soviet deaths in the Afghanistan
       War. Samogon, which accounted for perhaps a third of total consumption
       before 1985, now accounted for two-thirds. Gorbachev's policies prompted
       growing criticism, freely voiced in the era of glasnost. "I personally think the
       measures are too much," complained Vladimir Yamnikov, manager of the gi-
       ant Kristall distillery. "Nature is against emptiness."18
         A few Soviet officials still championed the cause. Yegor Ligachev, an ar-
       dent dry, thought abandoning the restrictions and reverting to a high-tax poli-
       cy —by 1989 the state was taking in more than it had in 1984—was tragic and
       immoral. He likened the surge in licit liquor consumption after 1988 to a
       "slow Chernobyl." Gorbachev, derided as the "Mineral Water Secretary,"
       also defended the campaign, though he admitted to errors in its implementa-
       tion. One problem was ambiguity. Neither the political leadership nor the
       new national temperance society ever decided whether abstinence or moder-
       ate drinking was the correct line. Though such equivocation was hardly with-

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          Resistance, Russian style: "Bring back the good old Brezhnev days!" The translation obscures a
          pun: prezhnie vremena ("good old times") has become Brezhnie vremena. The motto on the
          flag is "vodka." 1989 poster by D. Oboznenko.

          out precedent in Russian history—Nicholas         finance ministry had used
          monopoly profits to finance both distilleries and temperance societies—it
          had the fatal result of allowing local bureaucrats to set their own agendas.
          Some imposed the new regime too enthusiastically. Others ignored the cen-

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       tral directives, content to mind the still in the party headquarters' basement.
       Charges of hypocrisy dogged the campaign.
         So did a sense of unfairness. Millions of ordinary citizens drank to combat
       the boredom and sterility of life in a communist state. Their masters wanted
       them to stay sober and work harder, but for whose benefit? The stores were
       bare of consumer goods. The promised sports and cultural amenities had not
       appeared. Life was bleak. Honest, sober labor to enrich those who were nei-
       ther was a form of slavery, as one worker put it. "Who needs socialism with-
       out beer?" jeered another.19
         Or who needed a bankrupt, Mafiya-riddled republic? Boris Yeltsin's gov-
       ernment, chronically short of revenue, continued the high-tax policy of the
       last Gorbachev years. Bootlegging flourished, though for the traditional tax-
       avoidance motive. Resurgent consumption, binge drinking, and widespread
       alcohol poisoning, combined with heavy smoking, drastically affected Rus-
       sian mortality. Male life expectancy, which had been increasing during the
       dry era, declined more than six years between 1990 and 1994. Yet neither the
       mounting casualties nor the publicity surrounding them deterred Russian
       drinking. "Many citizens," summed up one psychologist, "consider alcohol
       use a cultural characteristic of the Slavic people bordering on a birthright.""
         What happened in the Soviet Union was the collision of a seemingly irre-
       sistible historical force, rationalization, with a seemingly immovable object,
       Russian drinking. The object won, showing that a pattern of drug use can be-
       come so entrenched in a culture that it is impossible to permanently sup-
       press and delegitimate it. A clue to this is the near-absence of minority scape-
       goats in the mid-198os anti-alcohol campaign. Although a few pointed
       accusing fingers at Jews for "alcoholizing" Soviet society, the drys lacked the
       credible equivalent of drunken immigrants or Chinese opium smokers. The
       socially, ethnically, and ideologically privileged class, male Slavic workers,
       was the one most given to intoxication.

                       Illicit Drugs: The Politics of De-escalation
       The opposite is true of the users of cannabis, cocaine, and other illicit drugs.
       They make for politically softer —indeed, attractive —targets. Despite the
       vogue among some affluent youth in the mid-196os through early 198os, il-
       licit drug use remains concentrated among street children, dropouts, petty
       criminals, prostitutes, the jobless, and other socially marginal groups. Half of
       Pakistan's heroin addicts come from the poorest 20 percent of the population.
       Ninety percent of Bombay's ragpickers are reportedly addicted to "brown

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           sugar." Most Chinese heroin addicts are male, young, single, and poorly edu-
           cated. About half are unemployed when they enter treatment."
             Addicts to heroin and other illicit drugs are caught in a social trap. They
           tend to stay unemployed because employers, reasonably, want nothing to do
           with them. An interview with a 31-year-old heroin addict, who worked for the
           federal government in the bygone days of the IBM Selectric typewriter,
           shows why:
               I working for the Department of Energy, in all kind of big old govern-
               ment buildings. My ID get me through the door so I just flash my ID on
               the guard. Walk past him and usually the door be open in the building.
               . . . I know a guy that buys IBM typewriters. The ball that goes around.
               You don't have to steal the whole typewriter. You just gotta be patient
               and get them balls. . . . Take fifty of them and the dude gives you four
               dollars a ball. So that's fifty times four, that two hundred dollars.
          And 1,30o dollars for the government to replace them. Theft, accidents, and
          legal liability give employers every incentive to avoid illicit drug users, and
          urine tests give them the means of their detection. Those who fail or avoid
          the tests stay jobless and poor, and in their desperation keep using drugs—or
          trafficking in them. Lower-class users have long been the mainstays of illicit
          retail sales, with plenty of assistance from nonusing sociopaths. ("Wrong?
          What's wrong? . . . I ain't using the shit, I just sell drugs.") This fact, paradoxi-
          cally, both strengthens the consensus for prohibition and makes it practically
          impossible to accomplish. For every peddler or body-packer arrested, there
          are several desperate or greedy enough to take his place. The prisons silt up.
          Taxes increase. DEA agents tape pictures of Pancho Villa above their cubi-
          cles and soldier on.22
            The inconsistency, expense, violence, corruption, adulteration, accidental
          overdoses, and needle-transmitted infections attendant to an illicit drug poli-
          cy have created an ongoing controversy, spawning referenda, polemics, and
          polls from Bolivia to Switzerland. The controversy has been most intense in
          the United States, site of history's costliest drug war. Though officially de-
          clared in 1986, the origins of the American drug war date to the mid-197os,
          when methadone maintenance and other therapeutic priorities of the Nixon
          administration fell into disfavor. Beginning with Nelson A. Rockefeller, who
          was maneuvering for a thrice-denied Republican presidential nomination,
          American politicians discovered that angry, anxious voters preferred get-
          tough measures like long minimum sentences —and that they were willing to

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       foot the bill. By the mid-199os, however, the drug war was consuming up-
       wards of 35 billion dollars a year. That sum equaled more than two-thirds the
       volume of illicit sales, then running about 5o billion dollars a year. Four hun-
       dred thousand persons were in prison or jail on drug charges. Yet heroin and
       cocaine remained cheap and available. Doubts about the wisdom and justice
       of such a campaign inevitably provoked a backlash.23
         The most extreme form of the backlash has been the call for legalization. A
       form of reactionary libertarianism, combining elements of left- and right-
       wing ideology, legalization would reset the policy clock by more than a hun-
       dred years. Heroin, cannabis, and other prohibited drugs would be legally
       available to adult purchasers, just as laudanum, patent medicines, and coca
       wines were in the nineteenth century. Fears that adult access, however re-
       stricted, would lead to excessive addiction and diversion have so far stymied
       the proposal, both in the United States and elsewhere. One 1997 survey,
       taken in Vienna, showed only 6 percent in favor of legalization, 84 percent
       opposed .24
         The less extreme form of the backlash has been the advocacy of harm re-
       duction. Often attacked as a haven and stalking horse for legalizers, the
       harm-reduction movement is in fact historically antecedent to the modern
       legalization campaign. Rooted in the marijuana and methadone wars of the
       197os, it draws its adherents and ideas from many sources. Advocates differ
       over particular issues, such as the cost-effectiveness of heroin maintenance,
       but share certain common tendencies. They stress demand reduction over
       supply reduction. They urge the depoliticization of drug abuse and the sub-
       stitution of treatment programs for criminal sanctions, which are considered
       inappropriate and unduly expensive. They favor sterile injection equipment
       for those who will not remain abstinent, and indefinite methadone mainte-
       nance. (No more missing typewriter balls.) They are resolutely non-
       judgmental, skeptical of absolute prohibitions, and tolerant of medical pre-
       scription and decriminalization experiments. They would reschedule canna-
       bis and perhaps other drugs from the top restrictive categories.
         The harm-reduction agenda has provoked only slightly less controversy
       than legalization. Conservatives who believe that scriptural injunctions and
       moral outrage are sufficient grounds for prohibitory legislation reject it out of
       hand. "Knowledge that an activity is taking place," as Robert Bork put it, "is a
       harm to those who find it profoundly immoral." These feelings are not
       confined to zealots. Certain practices—Michael Massing offers the example
       of handing sterile needles to a visibly pregnant woman, no questions asked—
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          might give pause to anyone. Harm reduction saves lives, but it is also a moral
          eyesore."
            And thus it is politically vulnerable. Mainstream politicians have been
          quick to make common cause with moral and religious conservatives on
          drug policy. The harder the line, the better. "Drug education and treatment
          have gained a name as a wimp activity," Representative John Conyers
          explained. "If you favor these things, you're a softy. When these proposals
          come up in Congress, most members want to know, before they vote, which
          one is the toughest. It's sort of, 'I don't know if this is going to work, but
          nobody is going to blame me for not being tough.'" One South Australian
          politician dramatically cast his tie-breaking vote in favor of a marijuana de-
          criminalization bill, only to be greeted with cries of "Shame! Shame!"
          George Soros, the international financier who has spent millions trying to
          steer drug policy in the direction of harm reduction, admits that few politi-
          cians have dared to stand up. "If they touch the issue, it's like touching a
          third rail."26
             Much of the electricity in the third rail is supplied by middle-class parents,
          politically important constituents who are concerned with the danger to
          their children posed by cannabis and other illicit drugs. Drug prohibitions
          may produce heavy social costs, but they do so only in the aggregate. The
          heaviest burdens fall on poor communities where the users, dealers, and po-
          lice street sweeps are concentrated. Affluent and suburban voters see aggres-
          sive enforcement as protecting their own families. In supporting firm sanc-
          tions against trafficking and use they consider themselves to be acquiring a
          kind of insurance, the costs of which are absorbed by people who shouldn't
          be behaving like that anyway."
             Not all opposition to harm reduction is the product of resentment, political
          calculation, and class interest. Secular hawks, drug-abuse experts like Robert
          DuPont, have challenged harm reduction on its own public-health grounds.
          Decriminalization and needle exchange send the wrong signals to young
          people, they claim, heightening the chances of experimental use. Cannabis
          is still a dangerous gateway drug, and a harder drug than its apologists con-
          cede. Heroin and cocaine are highly seductive, difficult to control, and likely
          to lead to addiction. De-escalation of the war against these chemical enemies
          is tantamount to surrender.28
            Against this formidable opposition, harm-reduction advocates have one big
          weapon: AIDS. Intravenous users, fearful of detection and short of cash,
          share injection equipment and drugs. In Vietnam they gather in slum rooms

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      without running water or sanitary facilities, where a dealer mixes opium or
      heroin solution in a communal pot. Using the same needle and syringe, he
      injects up to 5o customers from a single batch, with no cleaning in between.
      Drug injectors made up 70 percent of Vietnam's officially diagnosed HIV
      cases in 1997. Shooting-gallery conditions and HIV rates were not much dif-
      ferent in Malaysia, Myanmar, and the southwest Chinese provinces.
         Recognition that intravenous drug use was a prolific source of HIV infec-
      tion galvanized public health officials around the world. Robert Haemmig, a
      Bern physician, noted that although the Swiss had geared treatment toward
      abstinence in the early 198os, the lethality of AIDS forced them to rethink
      the policy. People shooting drugs might very well quit in the future, but there
      would not be much of a future if they contracted HIV. Getting them out of
      the public toilets and into more hygienic surroundings was imperative, both
      for their own health and to prevent the spread of HIV to the general popula-
      tion. By 1990 sterile needles and syringes were widely available, not only in
      Switzerland but in Britain, Canada, Denmark, Germany, Italy, Holland, and
      Norway. They were available on a more limited basis in France, Spain, and
      Sweden. Among the western industrial nations only the United States, its
      drug policy hostage to its culture war, officially barred such practices. Harm-
      reduction guerillas carried them out anyway."

                         Licit Drugs: The Politics of Escalation
      If schemes to de-escalate the war on illicit drugs have caused controversy, so
      have efforts to escalate it against licit drugs. This is the other side of the great
      policy debate of the last three decades. Many public health authorities and
      drug-abuse experts have argued that the government should increase the
      regulatory burden on alcohol and tobacco. Consumption of these
      "underscheduled" drugs is bad for the collective health and conducive to
      other forms of drug abuse. (Children's unrestricted access to caffeine has also
      begun to draw scrutiny.) Officials, in this view, should recognize tobacco and
      alcohol for what science shows them to be, dangerous psychoactive drugs.
      They should adjust their positions on the axes of policy—regulation, taxes,
      and penalties —to better reflect actual risk and social costs. Ban ads. Run
      counter-ads. Raise excises. Lower the legal blood alcohol content for drivers.
      Fund more treatment. Reduce alcohol consumption. Engineer a smoke-free
      future.
        Proposals of this sort are incompatible with the libertarian strain of legal-
      ization. They are not, however, incompatible with harm reduction. In fact,

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           many harm-reducers have called for intensified efforts against licit drugs. In
           the lingo of drug policy, they are "owls," as opposed to criminalizing "hawks"
           and legalizing "doves." The owls seek a convergent public health policy, one
           that treats licit and illicit drugs more evenhandedly: no more convenience-
          store signs declaring "this is a drug-free workplace." Owls believe that a poli-
           cy of convergence, adjusted for local conditions and priorities, offers the
           most sensible approach to managing what has plainly become an intractable
          social problem.
             That does not mean it will happen. The inertial forces —too often dis-
           counted by public-health rationalists, impatient like all children of the En-
          lightenment—are very strong. Of late, however, the reformers have had
          some luck with tobacco: ad bans and restrictions, tax increases, multi-billion-
          dollar legal settlements, and a string of embarrassing disclosures about indus-
          try dissimulation. The World Bank, which loaned 1.5 billion dollars for to-
          bacco development projects between 1974 and 1988, has reversed course and
          no longer invests in tobacco production. Smoke-free environments have
          gone global. At the insistence of nonsmokers, the Tupac Amaru hostages,
          seized in Lima in December 1996, sorted themselves into smoking and
          nonsmoking sections. "The Japanese really smoked a lot," one remembered,
          "but they were all in a room together so it was not so bad." Desk-bound
          Americans lack their own room for smoking. They puff away in the wintry
          out-of-doors, consigned to localized Siberian exile."
             The tobacco siege is very much a reversal of fortune. In the first half of the
          twentieth century alcohol, not tobacco, was the most controversial licit drug.
          Alcoholics Anonymous, founded in 1935 as a fellowship for the rescue and re-
          newal of alcoholics, simply disregarded smoking. Its co-founders, Bill Wilson
          and Dr. Bob Smith, both smoked heavily and died of cigarette-related ill-
          nesses. As late as 1955 one physician —of all things, a Park Avenue pediatri-
          cian —protested that there were "no scientific grounds for believing smoking
          harmful. All I can say is, if I had a spare S2,000 kicking around, I would still
          invest it in cigarette stock." No more. Epidemiological and scientific evi-
          dence has established beyond any reasonable doubt that smoking is the most
          widespread and lethal form of addiction in the world. No precautions can
          eliminate the danger. Cigarettes, as the trial lawyers say, are deadly hazards
          when used as intended.31
             Alcohol presents a more complicated picture. Compared with tobacco, it
          has several liabilities: intoxication, slurred speech, lost balance, impaired vi-
          sual acuity. Worry if your airline pilot has been drinking, Thomas Schelling

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      By the 19205 and 193os cigarette smoking, sexy, slinky, and the height of fashion, was catching
      on with growing numbers of middle-class men and women. Late in the century the process re-
      versed itself, as cigarette smoking became increasingly déclassé in health-conscious western so-
      cieties. Drawing by Russell Patterson, sometime in the 10205.

      observes, not if he has been smoking.32Alcohol as a drug of the many, as op-
      posed to alcoholism as a chronic disease of the few, has attracted increasing
      scientific scrutiny since 1975. Renewed concerns about drinking's social
      harms, such as car crashes, have fueled a "new temperance movement"— a
      more narrowly secular enterprise than its nineteenth-century predecessor,
      which tended to conflate salvation and rationalization. Yet, despite these de-
      velopments, alcohol is less vulnerable to regulatory escalation than tobacco.
      It will likely remain so in western societies in the near future.
         One reason is that moderate drinking, such as a glass of wine with a daily
      meal, may lower the risk of coronary heart disease. It may also give protection
      against stroke, adult-onset diabetes, osteoporosis, and rheumatoid arthritis,
      among other illnesses. Whether it is the beverage itself or the healthy life-
      style of the moderate drinker that confers these benefits is not clear. What is
      clear is that many people can drink moderately with little fear of serious health
      consequences. The same cannot be said of smoking— a key distinction in ag-
      ing western societies grown increasingly health-conscious and risk-averse."

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               Humanity also has long experience of alcohol, and has evolved all manner
            of rules and taboos to reduce the harmfulness of drinking. Civilized men
            drink diluted wine. Don't drink on an empty stomach. Some cultures, such
            as the Italian and Jewish, have been conspicuously successful in integrating
            drinking in salubrious ways into everyday life and ritual. (Others, such as the
            Russian, have been conspicuously unsuccessful.) Cultural norms can like-
            wise mitigate some of tobacco's harms. Don't smoke in bed. Don't smoke if it
            annoys others. Yet it now appears that tobacco is so intrinsically toxic as to
            defy safe integration. Even Philip Morris publicly admitted as much about
            cigarettes in 1999.34
              Tobacco, finally, is becoming a losers' drug. Alcohol continues to be
            broadly popular outside the Islamic world, particularly in western Europe,
            where three-quarters of the adults drink. Smoking, however, has visibly de-
            clined among the educated classes in the United States, Britain, and other
           western countries. It persists as a "culturally normal activity"—as the histo-
            rian Virginia Berridge puts it—mainly among the poorest elements of soci-
            ety, those most resistant to public health sanctions and appeals. Lower-class
           concentration has increased the political vulnerability of tobacco, much as it
           did for narcotics a century ago.35
              Convergence, then, seems to be a more realistic prospect for tobacco than
           for alcohol. The days of prescription sale may not be far off. But this should
           be taken only as a summation of current trends, not a prediction. Technolog-
           ical change has a way of reshuffling the drug-policy deck. The development
           of safer nicotine-delivery devices would alter the situation, just as a vaccine
           for AIDS might take the steam out of harm reduction.
              One thing, however, is not likely to change. It is the political awareness of
           the dangers of exposing people to psychoactive substances for which, it is in-
           creasingly clear, they lack evolutionary preparation. Psychoactive technol-
           ogy, like military technology, has outstripped natural history. The question is
           what to do about it. The answer, whatever it may be, is not a return to a mini-
           mally regulated drug market. The movement toward restrictive categoriza-
           tion was fundamentally progressive in nature. Like most reforms, it was partly
           motivated by self-interest, tainted by prejudice, and imperfect in its execu-
           tion. But its basic premise was both correct and humane. The drive to maxi-
           mize profit —individual, corporate, and state —underlay the explosive global
           increase in drug use. Checking the increase meant restricting commerce
           and profits, which meant regulatory laws and treaties. The task now is to ad-


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                              LICIT   AND    ILLICIT     DRUGS


        just the system, eliminating its worst concomitants and plugging its most
       conspicuous gaps.
          Plugging those gaps will not be easy, particularly in consumer societies.
       Pleasure is to consumerism what winning is to sports: an imperative pursued
       by all means short of cheating with certain chemicals. Even if policymakers
       (or athletic governing bodies) succeed in scheduling drugs more rationally,
       they cannot avoid the fundamental contradiction. The emergent global capi-
       talist system—McWorld— depends heavily on the commercial exploitation
       of innate drives, such as sex or the taste for sweet and fatty foods. Its products
       are often dangerous, yet individuals are free to ignore, assume, or work
       around the risks. Advertisers systematically encourage them to do so for the
       sake of transient pleasures. The very essence of modern culture, as Daniel
       Bell remarked, is that of sovereign individuals "ransacking the world store-
       house," casting aside traditional restraints in pursuit of self-fulfillment." So
       why should certain drugs be off limits? Be happy and partake, except of the
       forbidden fruit, has always been a hard message to swallow. Genesis tells us
       that Adam and Eve could not abide by it in the old Eden. It is hard to imag-
       ine that our prospects are much better in today's new one.
